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UNITED STATES DISTRICT COURT                                     USDCSDNY
SOUTHERN DISTRICT OF NEW YORK                                    DOCUMENT
------------------------------------ x                           ELECTRONICALLY FILED

LOUIS R. ARRIOLA,
                                                                  DOC#
                                                                  DATr    LED:
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                                                                                   '/5T:k
                       Plaintiff,                                  11 Civ. 7949 (LBS) (AJP)

               -against-                                   ORDER OF DISMISSAL ON CONSENT

QT GLOBE, INC.,

                       Defendant.

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ANDREW J. PECK, United States Magistrate Judge:


               The parties having informed the Court that they have reached a settlement agreement

in principle and are finalizing settlement documents (see attached letter), IT IS HEREBY

ORDERED THAT this action is dismissed with prejudice and without costs, provided, however, that

any party may reinstate the action within 30 days hereof if the settlement is not fully effectuated.

Any pending motions are to be terminated as moot.

               SO ORDERED.

DATED:         New York, New York
               June 5, 2012


                                                      Andrew J. P ck
                                                      United States Magistrate Judge

Copies by ECF to:      All Counsel
                       Judge Leonard B. Sand
 JUN-05-2012Case 1:11-cv-07949-LBS-AJP
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POLIAI(OFF, LLP                                                                        212.599.3322 !'HONE
                                                                                          212.557.0295 FAA

                                                                               WWW.8ECI(ER-POllAl(OFF.COM
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                                                 June 51 2012

    By Fax: (2.12) 805-7933

    Hon. Andrew J. Peck, U.8.M.J,
    United States District Court
    Southern District of New York
    Daniel Patrick Moynihan
    United States Courthouse
    500 Pearl Street
    New York, New York 10007

           Be:    Arriola u. QT Globe, Inc.
                  Case No. 1:11 CV 07949 (LBS) (A.JP)

     Dear Judge Peck:

           We represent Plaintiff, Louis Arriola. We write with Defendant's consent to
    inform your Honor that the parties reached a settlement on May 25, 2012. Shortly
    thereafter, Defendant began making periodic payments as provided in the settlement
    agreement. Although the parties have exchanged executed copies of the settlement
    agreement as wen as a stipulation of voluntary dismissal with prejudice, Defendant has
    not yet provided a notarized confession of judgment, which secures the deferred
    payments under the settlement agreement. Defendant has indicated that the notarized
    confession of judgment will be supplied as soon as Defendant's President, Eric Ramos,
    returns from Europe.

            As discussed with Your Honor this afternoon, the Court win enter an order today
     dismissing the case "'rith prejudice and granting Plaintiff the right to reinstate this action
     within thirty (30) days in the event the confession of judgment is not received.

           Thank you for Your Honor's continued attention to this matter. We apologize for
     neglecting to inform the Court of the foregoing developments sooner. If Your Honor has
     any questions, please contact me.




                                        LEGAL AND BUSINESS STRATfGI5TS
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BECKERf.r-J
POLIAKOFF, LLP
   Hon. Andrew J. Peck, U.S.M.J.
   June 5,2012
   Page 2


                                          Respectfully submitted,




   cc:   Michael Fishman, Esq. (by email: mf!s;hman@mflawny.com)
         Ron. Leonard B. Sand (by first-class mail)




                                                                                 TOTAL P.03
